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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF INDIANA

 IN RE: COOK MEDICAL, INC.,                    Case No. 1:14-ml-2570-RLY-TAB
 IVC FILTERS MARKETING, SALES                    MDL No. 2570
 PRACTICES AND PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to the Following        Notice of Change of
 Actions:
                                               Attorney Information
 1:14-cv-06013 (Snow, Ronald)
 1:16-cv-02395 (Kelso, Jeanna)
 1:16-cv-02642 (Clark, Thomas and Karen M.)
 1:17-cv-00347 (Lachenmayr, Carolyn
 Greenwood and Walter F.)
 1:17-cv-01685 (Silva, Graciano and Gloria)
 1:17-cv-03833 (Mohr, Leonard C.)
 1:17-cv-03973 (Foote, Tammara)
 1:17-cv-06074 (Foley, Maureen)
 1:19-cv-01128 (Rabah, Dawn)
 1:19-cv-01472 (Kuntzler, Audrey)
 1:19-cv-01584 (House, Carl E.)
 1:19-cv-01586 (Scott, Loretta)
 1:19-cv-01602 (Olsen, Betty J.)
 1:19-cv-01746 (Hamm, David)
 1:19-cv-01854 (Lang, Henrietta)
 1:19-cv-01863 (Rice, Teresa)
 1:19-cv-01896 (Dillard, Mary E.)
 1:19-cv-01900 (Keller Jr., Douglas M.)
 1:19-cv-01948 (Smith, Larry K.)
 1:19-cv-02908 (Krappitz, Alan)
 1:20-cv-00537 (Clifton, David)
 1:20-cv-01183 (Drew, Lorin)
 1:20-cv-01184 (Ratliff, Reginald)
 1:20-cv-01187 (Johnson, Jahmel and
 Shauntae)
 1:20-cv-02601 (Mortensen, Sandra)
 1:20-cv-02603 (Harris, Darlene, as Executor
 of the Estate of Darlene Williams)
 1:21-cv-06553 (Dinwiddie, Jennifer)
 1:21-cv-06675 (Kane, Sheila Jane)
 1:21-cv-06695 (Miller, Kathy Ann)
 1:22-cv-00367 (King, Crystal D.)
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 1:23-cv-6960 (Knosp, Donald)
 1:23-cv-7018 (Jermier, Jay and Caryl)


TO:   THE CLERK OF THE COURT AND ALL OTHER PARTIES

Pursuant to Local Rule 5-3, the undersigned counsel notifies the Clerk’s Office of
the following changes:


                      Previous Information:            Current Information:

 Name:                Joseph N. Williams               Joseph N. Williams
 Law Firm,
 Company,             Williams & Piatt, LLC            Williams Law Group, LLC
 and/or Agency:
                                                       1101 North Delaware Street
                      1101 North Delaware Street
 Address:                                              Suite 200
                      Indianapolis, IN 46202
                                                       Indianapolis, IN 46202
 Primary E-mail:      joe@williamspiatt.com            joe@williamsgroup.law
                      jonwilli@gmail.com               jonwilli@gmail.com
 Secondary E-
                      mary@williamspiatt.com           mary@williamsgroup.law
 mail(s):
                      nancy@williamspiatt.com          nancy@williamsgroup.law
 Telephone
                      (317) 633-5270                   (317) 633-5270
 Number:
 Facsimile:           (317) 426-3348                   (317) 426-3348


Date: July 12, 2023                      /s/ Joseph N. Williams
                                         Joseph N. Williams (#25874-49)
                                         WILLIAMS LAW GROUP, LLC
                                         1101 North Delaware Street, Suite 200
                                         Indianapolis, IN 46202
                                         (317) 633-5270
                                         Fax: (317) 426-3348
                                         joe@williamsgroup.law
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                          CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of July, 2023, a copy of the foregoing was
filed electronically. Service of this filing will be made on all ECF-registered counsel
by operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s system.

                                        /s/ Joseph N. Williams
                                        Joseph N. Williams
